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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                         THE CENTER FOR INVESTIGATIVE
                                   6     REPORTING, et al.,                                 Case No. 21-cv-09613-SK

                                   7                    Plaintiffs,
                                                                                            ORDER DENYING MOTION TO
                                   8             v.                                         DISMISS
                                   9     U. S. DEPARTMENT OF JUSTICE, et al.,               Regarding Docket No. 18

                                  10                    Defendants.

                                  11          This matter comes before the Court upon consideration of the motion to dismiss filed by

                                  12   Defendant United States Department of Justice (“DOJ”) based on the failure to exhaust
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                                  13   administrative remedies as to the Executive Office for United States Attorneys (“EOUSA”).

                                  14   Having carefully considered the parties’ papers, relevant legal authority, the record in the case,

                                  15   and having had the benefit of oral argument, the Court hereby DENIES the motion by the DOJ for

                                  16   the reasons set forth below.

                                  17                                            BACKGROUND

                                  18          Plaintiffs the Center for Investigative Reporting and Anayansi Diaz-Cortez’s (collectively,

                                  19   “Plaintiffs”) filed a claim under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, against

                                  20   the EOUSA, the DOJ Criminal Division (“DOJ-CRM”), the United States Drug Enforcement

                                  21   Administration (“DEA”), and the United States Department of State (hereinafter “State Department”).

                                  22   (Dkt. No. 15 (First Amended Compl.).) Plaintiffs allege that the DOJ-CRM, the EOUSA, and

                                  23   DEA are all components of the DOJ. (Id., ¶ 18.)

                                  24          In August 2021, Plaintiffs submitted FOIA requests to these four entities (DOJ-CRM,

                                  25   EOUSA, DEA, and the State Department (collectively, “Defendant Agencies”)), seeking records

                                  26   related to the Mexican government’s request to the United States government under the Mutual

                                  27   Legal Assistance Cooperation Treaty with Mexico for evidence regarding General Salvador

                                  28   Cienfuegos Zepeda. Plaintiffs allege that the Defendant Agencies have improperly withheld
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                                   1   documents under FOIA. (Id., ¶¶ 7, 8.)

                                   2          Plaintiffs submitted their FOIA request to the DOJ-CRM on August 7, 2021, which the

                                   3   DOJ-CRM denied on September 21, 2021. (Id., ¶¶ 31, 34, Ex. H.) Plaintiffs also submitted their

                                   4   FOIA request to the DEA on November 7, 2021, which the DEA denied on October 22, 2021.

                                   5   (Id., ¶¶ 41, 44, Ex. O.) On November 2, 2021, Plaintiffs sent an administrative appeal letter to the

                                   6   DOJ Office of Information Policy (“DOJ-OIP”) regarding the denials by the DOJ-CRM and DEA.

                                   7   (Id., ¶¶ 35, 45, Ex. J.) Plaintiffs allege, and the DOJ does not dispute, that Plaintiffs exhausted

                                   8   their administrative remedies with respect to their FOIA request to the DOJ-CRM and DEA. (Id.,

                                   9   ¶¶ 40, 48.)

                                  10          Plaintiffs sent their FOIA request to the State Department on August 7, 2021, as well. (Id.,

                                  11   ¶ 55.) Plaintiffs allege that the State Department failed to issue a final determination to their

                                  12   FOIA request and that, as a result, Plaintiffs have exhausted their administrative remedies with
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                                  13   respect to the State Department. (Id., ¶¶ 57-59.)

                                  14          Plaintiffs also submitted a FOIA request to the EOUSA on August 7, 2021, which the

                                  15   EOUSA denied in a letter dated September 28, 2021. (Id., ¶¶ 49, 52, Ex. S.) The letter states, in

                                  16   pertinent part:

                                  17                     To provide you with the greatest degree of access authorized by the
                                                         Freedom of Information Act and the Privacy Act, we have considered
                                  18                     your request in light of the provisions of both statutes. The records
                                                         you seek are located in a Privacy Act system of records that, in
                                  19                     accordance with regulations promulgated by the Attorney General, is
                                                         exempt from the access provisions of the Privacy Act. 28 CFR §
                                  20                     16.81. We have also processed your request under the Freedom of
                                                         Information Act and are making all records required to be released,
                                  21                     or considered appropriate for release as a matter of discretion,
                                                         available to you.
                                  22
                                       (Id., Ex. S.) The letter further states that the EOUSA will release no documents and that the
                                  23
                                       EOUSA had reviewed the withheld documents to determine if any information could be
                                  24
                                       segregated for relief. (Id.) The letter states that the EOUSA withheld documents pursuant to
                                  25
                                       exemption (7)(A) of FOIA. (Id.) The letter also states:
                                  26
                                                         This is the final action on this above-numbered request. If you are
                                  27                     not satisfied with my response to your request, you may
                                                         administratively appeal by writing to the Director, Office of
                                  28                     Information Policy (OIP), United States Department of Justice . . .or
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                                                        you may submit an appeal through OIP’s FOIA STAR portal . . . .
                                   1                    Your appeal must be postmarked or electronically transmitted within
                                                        ninety (90) days of the date of my response to your request.
                                   2
                                       (Id.)
                                   3
                                                 The parties dispute whether the EOUSA’s letter constitutes a final determination under
                                   4
                                       FOIA which triggered Plaintiffs’ obligation to exhaust their administrative remedies by filing an
                                   5
                                       administrative appeal. The DOJ argues that the letter was a final determination and moves to
                                   6
                                       dismiss Plaintiffs’ complaint as to the EOUSA because Plaintiffs failed to exhaust their
                                   7
                                       administrative remedies.
                                   8
                                                                                    ANALYSIS
                                   9
                                                 “FOIA requires federal agencies to disclose information to the public upon request[.]”
                                  10
                                       Aguirre v. United States Nuclear Regulatory Comm’n, 11 F.4th 719, 725 (9th Cir. 2021) (citing 5
                                  11
                                       U.S.C. § 552(a)(3)(A).) The “agency must provide a ‘determination’ with respect to a FOIA
                                  12
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                                       request” within a certain timeframe. See Our Children’s Earth Found. v. Nat’l Marine Fisheries
 United States District Court




                                  13
                                       Serv., 85 F. Supp. 3d 1074, 1089 (N.D. Cal. 2015) (citing 5 U.S.C. § 552(a)(6)(A)(i)-(ii)). To
                                  14
                                       constitute a “determination” under FOIA:
                                  15
                                                        the agency must at least: (i) gather and review the documents; (ii)
                                  16                    determine and communicate the scope of the documents it intends to
                                                        produce and withhold, and the reasons for withholding any
                                  17                    documents; and (iii) inform the requester that it can appeal whatever
                                                        portion of the “determination” is adverse.
                                  18
                                       Citizens for Responsibility & Ethics in Wash. v. Fed. Election Comm’n, 711 F.3d 180, 188 (D.C.
                                  19
                                       Cir. 2013) (referred to as “CREW”); see also Our Children’s Earth Found., 85 F. Supp. 3d at 1089
                                  20
                                       (responding agency must “at least inform the requester of the scope of the documents that the
                                  21
                                       agency will produce, as well as the scope of the documents that the agency plans to withhold
                                  22
                                       under any FOIA exemptions.”) (citing Crew 711 F.3d at 184).
                                  23
                                                 If a person or entity who submits a request for information under FOIA (a “requestor”) is
                                  24
                                       dissatisfied with the agency’s response, the requestor “can challenge it in court but must first
                                  25
                                       exhaust available administrative remedies, including an appeal within the agency.” Aguirre, 11
                                  26
                                       F.4th 719, 725. (citing 5 U.S.C. § 552(a)(6)(A)(i)-(ii), (C)(i)). The exhaustion requirement “serves
                                  27
                                       to ‘protect[ ] administrative agency authority and promot[e] judicial efficiency.’” Id. (quoting
                                  28
                                                                                          3
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                                   1   McCarthy v. Madigan, 503 U.S. 140, 145 (1992)). Additionally, the exhaustion requirement

                                   2   “allows agencies to correct their mistakes and creates a useful record ‘should judicial review

                                   3   become necessary.’” Id. (quoting Amerco v. NLRB, 458 F.3d 883, 888 (9th Cir. 2006).

                                   4   Exhausting administrative remedies “under FOIA is a prudential rather than jurisdictional

                                   5   consideration, however, so courts can waive the requirement when, for example, further

                                   6   administrative proceedings would prove futile.” Id. (citing Yagman v. Pompeo, 868 F.3d 1075,

                                   7   1083-84 (9th Cir. 2017)).

                                   8          Plaintiffs make two arguments in response to DOJ’s motion to dismiss: (1) that the letter

                                   9   from the EOUSA did not constitute a “final determination” under FOIA, and alternatively (2) the

                                  10   Court should excuse the requirement of exhaustion.

                                  11   A.     Final Determination.
                                  12          Plaintiffs argue that the letter from the EOUSA did not constitute a “final determination”
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                                  13   to trigger the exhaustion requirement because the EOUSA failed to address the foreseeable harm

                                  14   standard. FOIA provides that the responding agency must “notify” the requestor of: (1) its

                                  15   “determination and the reasons therefor;” (2) the requestor’s right “to seek assistance from the

                                  16   FOIA Public Liaison of the agency; and” (3) the requestor’s right “to appeal to the head of the

                                  17   agency” and “to seek dispute resolution services. . . .” 5 U.S.C. § 552(a)(6)(A)(i). In another

                                  18   subsection, the statute states that the responding agency “shall . . . withhold information under this

                                  19   section only if . . . the agency reasonably foresees that disclosure would harm an interest protected

                                  20   by an exemption. . . .” 5 U.S.C. § 552(a)(8)(A)(i). The subsection which requires the agency to

                                  21   address reasonable foreseeability does not require the agency to disclose or otherwise notify the

                                  22   requestor of this analysis. See Khine v. United States Dep’t of Homeland Sec., 334 F. Supp. 3d

                                  23   324, 330 n. 4 (D.D.C. 2018) (holding reasonable foreseeability “provision merely establishes the

                                  24   standard for when an agency may withhold information,” not a disclosure requirement; FOIA

                                  25   “does not require the agency to disclose information to a FOIA requester outside of the disclosures

                                  26   required by § 552(a)(6)(A)(i)”). Thus, the EOUSA was not required to provide its rationale that it

                                  27   reasonably foresees that disclosure would harm an interest protected by an exemption when it

                                  28   provided its letter denying Plaintiffs’ FOIA request.
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                                   1          Next, Plaintiffs argue that FOIA requires a responding agency to provide some indication

                                   2   regarding the scope or volume of records being withheld based upon an exemption. FOIA

                                   3   provides that, “[i]n denying a request for records, in whole or in part, an agency shall make a

                                   4   reasonable effort to estimate the volume of any requested matter the provision of which is denied,

                                   5   and shall provide any such estimate to the person making the request. . . .” See 5 U.S.C. §

                                   6   552(a)(6)(F). However, the Court did not find, and Plaintiffs did not cite to, any authority

                                   7   requiring a responding agency to provide a volume estimate of the documents it withholds to

                                   8   constitute a final determination triggering an exhaustion requirement.

                                   9          One court specifically analyzed and rejected the argument that an agency must provide an

                                  10   estimate of volume to trigger the exhaustion requirement. Nat’l Sec. Counselors v. CIA, 931 F.

                                  11   Supp. 2d 77, 95 (D.D.C. 2013). As the court explained, there are “two ways for a requester to

                                  12   exhaust administrative remedies: actual exhaustion and constructive exhaustion.” Id. Actual
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                                  13   exhaustion occurs when a requester administratively appeals a determination to the agency head.

                                  14   See Hull v. United States Attorney, 279 F. Supp. 3d 10, 12 (D.D.C. 2017) (citing 5 U.S.C. §

                                  15   552(a)(6)(A)). In contrast, constructive exhaustion occurs “[w]hen an agency fails to respond to a

                                  16   FOIA request” within the required time. Nat’l Sec. Counselors, 931 F. Supp. 2d at 95. The court

                                  17   examined the statute and concluded that only a failure to respond within the statutory-required

                                  18   time period constituted “constructive exhaustion” to excuse the exhaustion requirement. Id. at 96-

                                  19   97 (citing 5 U.S.C. § 552(a)(6)(C)(i) which states that a requestor “shall be deemed to have

                                  20   exhausted his administrative remedies with respect to such request if the agency fails to comply

                                  21   with the applicable time limit provisions of this paragraph.”). In other words, whether an agency

                                  22   violates the requirement in FOIA to provide an estimate of volume under Section 552(a)(6)(F) is a

                                  23   separate issue from whether a violation of that requirement constitutes constructive exhaustion

                                  24   sufficient to excuse an obligation to administratively appeal before filing a lawsuit.

                                  25          After CREW, the court in National Security Counselors considered and rejected the

                                  26   proposition that CREW constituted a change in law requiring an agency to provide an estimate

                                  27   regarding the volume of documents it withholds to trigger the exhaustion requirement. See

                                  28   National Security Counselors v. Central Intelligence Agency, 2013 WL 12324697, at * 2 (D.D.C.
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                                   1   June 13, 2013). The court held that the D.C. Circuit’s use of the word “scope” in CREW did not

                                   2   “require agencies to provide a volume estimate of withheld material before a requester [is]

                                   3   required to pursue an administrative appeal.” Id. The court noted that the D.C. Circuit was not

                                   4   concerned with any volume estimate in CREW and that, while the D.C. Circuit closely scrutinized

                                   5   the text and structure of several FOIA provisions in reaching its holding, the Circuit did not ever

                                   6   cite or reference FOIA’s volume-estimate requirement. National Security, 2013 WL 12324697, at

                                   7   * 3 (citing CREW, 711 F.3d at 189).

                                   8           Plaintiffs primarily rely on Crew, which held that a “determination” requires the agency to

                                   9   “determine and communicate the scope of the documents it intends to produce and withhold.”

                                  10   CREW, 711 F.3d at 188. However, communicating the “scope” of documents does not necessarily

                                  11   require an estimate of volume. As another court found, communicating that the agency would not

                                  12   produce any records did communicate the scope – as the scope is none. Machado Amadis v. Dep’t
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                                  13   of Just., 388 F. Supp. 3d 1, 12 (D.D.C. 2019). In terms of the communicating the scope of the

                                  14   documents withheld, the EOUSA similarly communicated that scope – none.

                                  15           Plaintiffs also rely on Western Resources Legal Center v. National Oceanic and

                                  16   Atmospheric Administration, 2020 WL 6829767, at *5 (D. Or. Nov. 20, 2020), but that case fails

                                  17   to support Plaintiffs’ argument that failure to provide an estimate of volume triggers exhaustion.

                                  18   In Western Resources, the agency produced six interim responses. Id. at *5. Each interim

                                  19   response was labeled as “interim” and stated: “Although we do not consider this a denial of your

                                  20   request, you have the right to file an administrative appeal if you are not satisfied with our

                                  21   response to your FOIA request.” Id. at *2, 5. The court merely held that such interim responses

                                  22   did not trigger the exhaustion requirement, noting that the interim responses failed to inform the

                                  23   requestor “of what the agency intended to produce or withhold in response to the entire request.”

                                  24   Id. at *5.

                                  25           In contrast, here, the EOUSA clearly stated what it intended to produce in response to

                                  26   Plaintiffs’ request – none. The EOUSA also told Plaintiffs the reason for withholding documents

                                  27   – Exemption 7(A), informed Plaintiffs that it was the agency’s “final action” in response to

                                  28   Plaintiffs’ FOIA request, and informed Plaintiffs’ of their right to administratively appeal the
                                                                                         6
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                                   1   determination. (Dkt. No. 15, Ex. S.) The Court thus finds that the EOUSA’s letter was sufficient

                                   2   to trigger Plaintiffs’ exhaustion requirement.

                                   3   B.     Waiving Requirement of Exhaustion.
                                   4          Alternatively, Plaintiffs argue that, even if the EOUSA’s letter was sufficient to trigger the

                                   5   exhaustion requirement, the Court should waive the requirement of exhaustion for swift resolution

                                   6   of this case and judicial economy. Plaintiffs contend that the Court should exercise its prudential

                                   7   discretion to waive exhaustion because the same agency – the DOJ – had an opportunity to

                                   8   administratively consider Plaintiffs’ appeal on two other FOIA requests regarding the same

                                   9   subject matter and because the DOJ’s failure to timely respond to that appeal shows any appeal

                                  10   regarding the EOUSA’s determination would be futile. “Exhaustion under FOIA is a prudential

                                  11   rather than jurisdictional consideration, however, so courts can waive the requirement when, for

                                  12   example, further administrative proceedings would prove futile. Aguirre, 11 F.4th at 725 (citing
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                                  13   Yagman, 868 F.3d at 1083-84). Thus, for example, one court found waiver appropriate where

                                  14   plaintiffs who failed to exhaust raised the same claims as a party who had exhausted remedies.

                                  15   Nat’l Sec. Counselors v. Dep’t of Justice, 848 F.3d 467, 470 (D.C. Cir. 2017). There, the Court

                                  16   found that the policy behind the requirement of exhaustion – allowing the agency to correct its

                                  17   mistakes and develop a record for the district court – did not exist because of the similarity of the

                                  18   exhausted and non-exhausted FOIA requests. Id.

                                  19          Here, if the Court were to hold Plaintiffs to the requirement of exhaustion of their FOIA

                                  20   request against the EOUSA and dismiss this portion of the case, Plaintiffs would simply re-file the

                                  21   FOIA request and, if denied again, re-file in this Court. Given that Plaintiffs will litigate the

                                  22   denial of the other FOIA requests – which address the same subject – against the other Agency

                                  23   Defendants, judicial economy favors addressing all of the FOIA requests at the same time.

                                  24   Although it is not certain that the EOUSA would take the same position that the other Agency

                                  25   Defendants did in an administrative appeal, if the EOUSA did take the same position, addressing

                                  26   that position in a separate lawsuit would be a waste of the parties’ and judicial resources.

                                  27   Therefore, the Court will exercise its judicial discretion and excuse the exhaustion requirement.

                                  28   Accordingly, the Court DENIES the DOJ’s motion to dismiss as to the EOUSA based on
                                                                                          7
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                                   1   Plaintiffs’ failure to exhaust.

                                   2                                          CONCLUSION

                                   3           For the foregoing reasons, the Court DENIES DOJ’s motion to dismiss as to the EOUSA.

                                   4   The Court SETS a Case Management Conference for June 13, 2022. The parties shall file an

                                   5   updated joint case management statement by no later than June 6, 2022.

                                   6           IT IS SO ORDERED.

                                   7   Dated: May 19, 2022

                                   8                                                 ______________________________________
                                                                                     SALLIE KIM
                                   9                                                 United States Magistrate Judge
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